92 F.3d 1184
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Duke E. WOODLEY, Plaintiff--Appellant,v.Carl R. PEED, Sheriff;  City of Fairfax;  Archives Division,Fairfax County Jail, Defendants--Appellees.
    No. 96-6355.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  July 23, 1996Decided:  Aug. 5, 1996
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Richmond.  James R. Spencer, District Judge.  (CA-95-368-R)
      Duke E. Woodley, Appellant Pro Se.
      John J. Brandt, Robert S. Corish, SLENKER, BRANDT, JENNINGS &amp; JOHNSTON, Merrifield, Virginia, for Appellees.
      E.D.Va.
      DISMISSED.
      Before WIDENER, NIEMEYER, and MICHAEL, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals the district court's decision denying his motion for appointment of counsel and dismissing several defendants without prejudice.  We dismiss the appeal for lack of jurisdiction because the order is not appealable.  This court may exercise jurisdiction only over final orders, 28 U.S.C. § 1291 (1988), and certain interlocutory and collateral orders, 28 U.S.C. § 1292 (1988);  Fed.R.Civ.P. 54(b);   Cohen v. Beneficial Indus.  Loan Corp., 337 U.S. 541 (1949).  The order here appealed is neither a final order nor an appealable interlocutory or collateral order.
    
    
      2
      We dismiss the appeal as interlocutory.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    